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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

*******************************
Alexander and Susan Prout as p/n/f *
of F.P., a minor,                  *
               Plaintiffs,         *
                                   *
v.                                 *                       Case No. 1:16-cv-00225-PB
                                   *
St. Paul’s School,                 *
               Defendant.          *
*******************************

             ASSENTED-TO MOTION FOR PRO HAC VICE ADMISSION OF
                          ANNA S. KELLY, ESQUIRE

       Pursuant to Local Rule 83.2(b), the undersigned respectfully moves for the admission pro

hac vice of Anna S. Kelly, Esquire, Silverman/Thompson/Slutkin/White/LLC, 201 North Charles

Street, 26th Floor, Baltimore, Maryland 21201 (410) 385-2225, facsimile: (410) 547-2432,

akelly@mdattorney.com, for purposes of appearance as co-counsel on behalf of the plaintiffs in

the above-captioned case only. In support of this Motion, the undersigned states as follows:

       1.      Movant, Charles G. Douglas, III, Esquire, of the law firm of Douglas, Leonard &

Garvey, P.C., 14 South Street, Suite 5, Concord, NH 03301, is a member in good standing of the

New Hampshire Bar and the United States District Court for the District of New Hampshire.

       2.      Anna S. Kelly is not admitted to practice in the United States District Court for

the District of New Hampshire.      She is a member in good standing of the state court of

Maryland.

       3.      There are no disciplinary proceedings pending against Anna S. Kelly.

       4.      Anna S. Kelly is familiar with the Local Rules of the U.S. District Court for the

District of New Hampshire.




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          5.      In accordance with the local rules of this Court, attached hereto as Exhibit A is an

Affidavit of Anna S. Kelly in support of this Motion for his pro hac vice admission.

          6.      In accordance with the local rules of this Court, Anna S. Kelly has made payment

of this Court’s $100.00 admission fee contemporaneously with the filing of this Motion.

          7.      In accordance with the local rules of this Court, Anna S. Kelly will register as a

Filing User of the Court’s ECF system by completing an online registration form on the Court’s

website at www.nhd.uscourts.gov.

          8.      Opposing counsel, Michael A. Delaney, Esquire, assents to the relief requested

herein.

          9.      Because the relief requested herein is discretionary with the Court, no

accompanying memorandum of law is believed to be required.

          WHEREFORE, Charles G. Douglas, III, Esquire moves this Court to enter an Order for

Anna S. Kelly, Esquire to appear before this Court on behalf of the plaintiffs for all purposes

relating to the proceedings in the above-captioned matter.

                                                        Respectfully submitted,
                                                        ALEXANDER and SUSAN PROUT,
                                                         p/n/f of F.P,
                                                        By their attorneys,
                                                        DOUGLAS, LEONARD & GARVEY, P.C.


Date: February 8, 2017                          By:     /s/Charles G. Douglas, III_______________
                                                        Charles G. Douglas, III, NH Bar #669
                                                        14 South Street, Suite 5
                                                        Concord, NH 03301
                                                        (603) 224-1988
                                                        chuck@nhlawoffice.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically served through ECF to all counsel of
record on this date.

                                                    /s/ Charles G. Douglas, III______________
                                                    Charles G. Douglas, III




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